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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


 LEPP CAPITAL, LLC, AND P.C.F.
 PROPERTIES IN TX, LLC

 Plaintiffs,
                                                      CIVIL ACTION NO. 4:22-cv-03338
 v.

 TERRI JENKINS and ANTWAN HENRY
      Defendants.



                                 SECOND MOTION TO REMAND

        Plaintiffs, LEPP CAPITAL, LLC, and P.C.F. PROPERTIES IN TX, LLC, (hereinafter

“Movants”) file this Second Motion to Remand under 28 U.S.C. § 1447(c) and would

respectfully show the Court as follows:

                               INTRODUCTION AND BACKGROUND

        1.     This Notice of Removal was filed by Defendants, TERRI JENKINS and

ANTWAN HENRY, on September 23, 2022, to avoid the fact that they have lost their home to

foreclosure on August 2, 2022, pursuant to a promissory note and deed of trust dated June 22,

2005, and secured by the real property located at 11939 Canyon Valley Dr., Tomball, TX 77377

(the “Property”).

        2.     On or about August 24, 2022, Movants filed a forcible detainer action against

Defendants all Occupants of 11939 Canyon Valley Dr., Tomball, TX 77377, seeking possession

of the Property under Case No. 224100295075, in the Justice of the Peace, Precinct 4, Place 1,

Harris County, Texas (the “Eviction Lawsuit”). The Justice Court held a trial on the Eviction

Lawsuit on September 26, 2022. The Justice Court initially entered judgment in Plaintiffs’ favor



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but later vacated the judgment and set a status conference for November 15, 2022, as a result of

the Notice of Removal filed by the Defendants.

       3.      Before that, Defendants filed a lawsuit in the United States District Court for the

Southern District of Texas, Houston Division, under Case No. 4:22-cv-02850, and styled

ANTWAN HENRY and TERRI JENKINS v. THE BANK OF NEW MIELLON FKA THE BANK

OF NEW YORK, AS TRUSTEE FOR THE CERTIFICATE HOLDERS, SERIES 2006-5, et al.

(hereinafter referred to as the “Federal Lawsuit”). Defendants, Carrington Mortgage Services,

LLC (“Carrington”), and The Bank of New York Mellon FKA The Bank of New York, as

Trustee for the Certificate Holders of CWABS, Inc., Asset-Backed Certificates 2006-5

(“BONYM”), filed a very detailed to Motion to Dismiss the Federal Lawsuit, a true and correct

copy of which is attached hereto as Exhibit 1. The Motion to Dismiss chronicles the litigious

history of the Defendants to this Removal Action.

       4.      On September 23, 2021, Defendants removed the case to this Court based on 24

U.S.C. § 1443. Defendants also filed a statement of inability to afford costs in connection with

this Removal Action, which was granted in Miscellaneous Case No. 4:22-mc-01573, and styled

Lepp Capital, LLC, and P.C.F. Properties in TX, LLC v. Terri Jenkins and Antwan Henry. That

case was closed on September 23, 2022.

       5.      There are no other pending motions at the time this Motion to Remand is filed.

                                ARGUMENT AND AUTHORITY

       6.      “A federal court is one of limited jurisdiction and must have statutory or

constitutional power to adjudicate a claim. See Home Builders Ass’n of Miss., Inc v. City of

Madison, 143 F.3d 1006, 1010 (5th Cir. 1998). A federal court has subject matter jurisdiction

over cases arising under the Constitution, laws, or treaties of the United States, or in cases where




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the matter in controversy exceeds $75,000, exclusive of interests and costs, and is between

citizens of different states. 28 U.S.C. §§ 1331, 1332.

       A.      There is No Federal Jurisdiction over the Eviction Lawsuit.

       7.      Under 28 U.S.C. § 1441(a), a defendant may remove to federal court any state

court action of which the federal district courts would have original jurisdiction. For the court to

have subject matter jurisdiction over the pursuant action pursuant to § 1331, there must be a

federal question involving the Constitution, laws or treaties of the United States. 28 U.S.C. §

1331. Any doubts as to the propriety of removal should be construed strictly in favor of remand.

Manguno v. Prudential Prop. & Cas. Ins. Co., 276 F.3d 720, 723 (5th Cir. 2002). “The removing

party bears the burden of showing that federal jurisdiction exists and that removal was proper.”

Id.

       8.      The sole issue in the Eviction Lawsuit is the superior right of possession to the

subject property. Jurisdiction to hear a forcible detainer action is expressly given to the justice

court of the precinct where the property is located. Pinnacle Premier Props., Inc. v. Breton, 447

S.W.3d 558, 562 (Tex. App.—Houston [14th Dist.] 2014, no pet.) (op. on reh'g) (citing

McGlothlin v. Kliebert, 672 S.W.2d 231, 232 (Tex. 1984)); see Tex. Prop. Code Ann. § 24.004

(Vernon 2000). A justice court has exclusive jurisdiction to decide the issue of immediate

possession, which may not be infringed upon as long as the justice court determines only

possession. Pinnacle Premier Props., Inc., 447 S.W.3d at, 562; Rice v. Pinney, 51 S.W.3d 705,

713 (Tex. App.—Dallas 2001, no pet.). Although a justice court has exclusive jurisdiction to

hear a forcible detainer action, a district court may enjoin the exercise of the justice court's

jurisdiction in a forcible detainer action when there is a showing that the justice court is without




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jurisdiction to proceed in the cause or the defendant has no adequate remedy at law. McGlothlin,

672 S.W.2d at 232; Pinnacle Premier Props., Inc., 447 S.W.3d at 562.

       9.      A forcible detainer action requires proof of a landlord-tenant relationship.

Yarbrough v. Household Fin. Corp, 455 S.W.3d 270, 280 (Tex. App. – Houston [14th Dist.]

2105, no pet). Although such a relationship is not a prerequisite to jurisdiction, the lack of such

a relationship indicates that the case may present a title issue. Id.; Pinnacle Premier Props., Inc.,

447 S.W.3d at 564 n.9. The Trustee’s Deed at issue this case created the landlord-tenant

relationship between Plaintiffs and Defendants in connection with the Eviction Lawsuit.

“Tenant-at-sufferance clauses separate the issue of possession from the issue of title.” Pinnacle

Premier Props., Inc., 447 S.W.3d at 564. “Under these provisions, a foreclosure sale transforms

the borrower into a tenant at sufferance who must immediately relinquish possession to the

foreclosure-sale purchaser.” Id. In essence, a tenancy-at-sufferance clause creates a landlord-

tenant relationship when the property is foreclosed. See Yarbrough, 455 S.W.3d at 280. The

only issue to be resolved in a forcible detainer action is the right to immediate possession of

property; the merits of title are not adjudicated. Espinoza v. Lopez, 468 S.W.3d 692, 695 (Tex.

App. – Houston [14th Dist.] 2015, no. pet.); Yarbrough, 455 S.W.3d at 280.

       10.     The Eviction Lawsuit is a matter of state law, and there is no federal question

jurisdiction. Therefore, the matter should be remanded to state court for proceedings consistent

with applicable state law.

      B.       Defendant has not established the right to removal

      11.      Defendants claim this Court has jurisdiction over the Eviction Lawsuit because

Defendants contend they have claims arising under 15 U.S.C. § 1692k (Fair Debt Collection

Practices Act because the Eviction Lawsuit is an attempt to collect under the Fair Debt




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Collection Act. Defendants also contend there is diversity of citizenship to confer jurisdiction on

this Court.

      12.       In removal actions, the court only looks to Plaintiffs’ complaint in determining

jurisdiction. Other claims that the Defendants may raise in response are counterclaims – not a

separate complaint that is considered. Counterclaims cannot support this Court’s jurisdiction

even if they may raise federal questions. See, Holmes Group, Inc. v. Vornado Air Circulation

Sys., Inc., 535 U.S. 826, 831 (2002).

      13.      A civil action filed in state court may be removed to a federal district court that

has original jurisdiction founded on a claim arising under the Constitution or laws of the United

States. 28 U.S.C. § 1441(b). However, a federal court has original or removal jurisdiction only

“if the federal question appears on the face of the plaintiff's well-pleaded complaint and there is

generally no federal jurisdiction if the plaintiff pleads only a state law cause of action.” MSOF

Corp. v. Exxon Corp., 295 F.3d 485, 490 (5th Cir.2002). It is not sufficient for the federal

question to be raised in the answer or in the petition for removal. Id.; Stump v. Potts, 322 F.

App'x 379, 380 (5th Cir. 2009). Yet, under the Texas Rules of Civil Procedure, the only issue in

cases of forcible detainer under the Texas Property Code is “the right to actual possession” Tex.

R. Civ. P. 510.3(c).

      14.      The Fifth Circuit Court of Appeals has determined that such an attempt to

circumvent the jurisdiction of the county court in forcible detainer proceedings is improper. In

Potts, the complaint filed in the state court was a simple suit to evict arising under state law.

Potts, 322 F. App'x at 380; see also Tex. Prop.Code Ann. § 24.0051, where the Court noted,

                  “the complaint provided no basis for federal question jurisdiction. The fact that
                  [plaintiff] brought up possible federal question claims in [the] answer… cannot
                  be considered in determining the existence of removal jurisdiction. Therefore,
                  the district court lacked jurisdiction to allow the removal of the action. In light



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                   of the lack of federal jurisdiction, [plaintiff] cannot raise any nonfrivolous
                   issues arising out of this case.”

Id.

         15.   The facts of Potts are identical to those at hand. Defendants cannot remove this

matter to federal court because there is no federal question relating to the forcible detainer action

in state court. See Id. The Northern District agreed that there is no federal question subject matter

jurisdiction when a forcible detainer proceeding is removed to federal court. See Wells Fargo

Bank v. Matts, 2012 U.S. Dist. LEXIS 176537, *13, 2012 WL 6208493 (N.D. Tex. Dec. 13,

2012) (Lindsay, J.) (“a defense that raises a federal claim or issue is insufficient to confer

jurisdiction on a district court.”). See Merrell Dow Pharms., Inc. v. Thompson, 478 U.S. 804

(1986)(“A defense that raises a federal question is inadequate to confer federal jurisdiction”).

Thus, this case must also be remanded to the county court at law.

         C.    There is No Diversity of Citizenship.

         16.   Additionally, Plaintiffs, LEPP Capital, LLC and P.C.F. Properties in TX, LLC,

are incorporated in and its principal place of business is in Texas; Jenkins and Henry are Texas

residents. Because the parties are not diverse, it does not support this Court having jurisdiction

over the claims.

                                           CONCLUSION

      17.      Removal of the present action to federal court was improper. Defendants have not

established removal jurisdiction in the present action because there is no federal question

jurisdiction arising out of a state court forcible detainer suit. Federal question defenses are not

enough to grant jurisdiction upon this Court.




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       WHEREFORE, Plaintiffs pray that the Court grant its motion, remand this suit to the

state county court where it was originally filed, and award Plaintiffs court costs, expenses, and

attorney’s fees.



                                                    BARRY & SEWART. PLLC


                                                    __/s/ John V. Burger ____________
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                                                    Attorneys for Plaintiff

                                  CERTIFICATE OF CONFERENCE
        Pursuant to this Court’s Procedure Section 6(B), I certify that on October 7th, 2022, I
contacted the Defendants, Antwan Henry in Atlanta, GA (via telephone) and Terri Jenkins in
Houston, TX (via telephone), in a good faith attempt to resolve this matter. An agreement could
not be reached. Therefore, the motion is opposed, and if the Court deems it necessary, a hearing
will be required.



                                              __/s/ John V. Burger ______
                                              John V. Burger




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                                    CERTIFICATE OF SERVICE
       I certify that a true and correct copy of the foregoing pleading was served upon the
following pursuant to the Federal Rules of Civil Procedure on this the 6th day of October, 2022:

Terri Jenkins
Antwan Henry
11939 Canyon Village Dr.
Tomball, TX 77377

Terri Jenkins
Antwan Henry
541 10th Street NW, #154
Atlanta, GA 30318



                                             __/s/ John V. Burger ______
                                             John V. Burger




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